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      In The United States Court of Federal Claims
                                            No. 08-460C

                                      (Filed: December 5, 2008)
                                              __________
 NORTH STAR ALASKA HOUSING
 CORPORATION,

                         Plaintiff,

        v.

 THE UNITED STATES,

                         Defendant.
                                             _________

                                             ORDER
                                            __________

        On December 2, 2008, a preliminary status conference was held in this case.
Participating in the conference were Paul Killian, for plaintiff, and Timothy McIlmail, for
defendant. Based on discussions during the conference, it was agreed that:

       1.       On or before April 30, 2009, discovery shall be completed.

       2.       On or before May 14, 2009, the parties shall file a joint status report
                indicating how this case should proceed.

       3.       On September 21, 2009, trial shall commence in this case at the United
                States Court of Federal Claims, National Courts Building, 717 Madison
                Place, N.W., Washington, D.C. 20005.

       IT IS SO ORDERED.


                                                               s/ Francis M. Allegra
                                                               Francis M. Allegra
                                                               Judge
